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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                 Southern District
                                                __________ Districtofof
                                                                      New  York
                                                                        __________

JIANGSU SOHO TECHNOLOGY TRADE CO., LTD.                          )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:22-cv-04960
                                                                 )
                     AGE GROUP LTD.                              )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) AGE Group Ltd.
                                       2 Park Avenue
                                       18th Floor
                                       New York, NY 10016




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Kevin Kelly,
                                       Mazzola Lindstrom LLP
                                       1350 Avenue of the Americas,
                                       Second Floor
                                       New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:
                                                                                      Signature of Clerk or Deputy Clerk
